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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                             :        DOCKET NO. 14-cr-00187-03

VS.                                                  :        JUDGE MINALDI

NORVELL KEITH HARRIS                                 :        MAGISTRATE JUDGE KAY


                REPORT AND RECOMMENDATION ON FELONY
           GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge on April 30, 2015, at which

time the defendant expressed a desire to waive his right to plead guilty before a District Judge and

enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record his desire

to consent to proceed before the undersigned and executed a waiver. Defendant was at all times

represented by counsel, Danielle Claiborne.

       After said hearing and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

plea to Count One of the Indictment is fully supported by the written factual basis acknowledged

by defendant orally in court and by his signature on the written document. This factual basis

supports each essential element of the offense to which the defendant pled.
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       Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

ACCEPT the guilty plea of the defendant, Norvell Keith Harris, and that Norvell Keith Harris be

finally adjudged guilty of the offense charged in Count One of the Indictment.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C) and FED. R. CIV. P. RULE 72(b), the

parties have fourteen (14) days from service of this Report and Recommendation to file specific,

written objections with the Clerk of Court. A party may respond to another party’s objections

within fourteen (14) days after being served with a copy thereof. A courtesy copy of any objection

or response or request for extension of time shall be furnished to the District Judge at the time of

filing. Timely objections will be considered by the District Judge before he makes a final ruling.

       A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF TIS SERVICE SHALL

BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR, FROM

ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS

AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

       THUS DONE this 4th day of May, 2015.
